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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   COURTNEY FEIN, Bar #244785
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   (916) 498-5700
 5   Attorney for Defendant
     JOHN SIBERT
 6
 7                        IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,       )           NO. MAG-11-147-EFB
                                     )
11                   Plaintiff,      )
                                     )           STIPULATION AND ORDER
12        v.                         )           CONTINUING STATUS
                                     )           CONFERENCE
13   JOHN SIBERT et al.,             )
                                     )           Date: November 28, 2011
14                   Defendants.     )           Time: 10:30 a.m.
     _______________________________ )           Judge: Hon. Edmund F. Brennan
15
16
17          IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective counsel, DAVID STEVENS, Assistant United States Attorney, attorney for
19   Plaintiff, COURTNEY FEIN, attorney for JOHN SIBERT, and DUSTIN JOHNSON attorney
20   for GREG HERMAN, AL HERMAN and VERNA HERMAN, that the status conference set
21   for October 26, 2011 vacated and reset for a status conference on November 28, 2011, at 10:30
22   a.m.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
              Case 2:11-mj-00147-EFB Document 24 Filed 10/25/11 Page 2 of 2


 1          The reason for this continuance is to allow defense counsel additional time to consult
 2   with their clients about the case, review the discovery and continue with investigating facts
 3   in this case.
 4
     DATED: October 24, 2011.                            Respectfully submitted,
 5
                                                         DANIEL J. BRODERICK
 6                                                       Federal Public Defender
 7                                                       /s/ Courtney Fein
                                                         COURTNEY FEIN
 8                                                       Assistant Federal Defender
                                                         Designated Counsel for Service
 9                                                       Attorney for JOHN SIBERT
10
                                                         /s/ Courtney Fein for
11                                                       DUSTIN JOHNSON
                                                         Attorney for
12                                                       GREG HERMAN, AL HERMAN
                                                         and VERNA HERMAN
13
14   DATED: October 24, 2011.                            BENJAMIN WAGNER
                                                         United States Attorney
15
                                                         /s/ David Stevens
16                                                       DAVID STEVENS
                                                         Assistant U.S. Attorney
17                                                       Attorney for Plaintiff
18
19   IT IS SO ORDERED.
20
     Dated: October 24, 2011.
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